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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


DARYOUSH TAHA                                 :                         CIVIL ACTION
Individually and on Behalf of                 :
All Others Similarly Situated                 :
                                              :
v.                                            :
                                              :
BUCKS COUNTY, et al.                          :                         NO. 12-6867

                                          ORDER

       AND NOW, this 30th day of December, 2015, having considered the Motion of Citizen

Information Associates, LLC (“CIA”) for Summary Judgment (ECF Document 96), Plaintiff’s

Response thereto (Doc. 98), and Defendant’s Reply (Doc. 99), and having held oral argument,

for the reasons set forth in the accompanying memorandum, it is hereby ORDERED that the

Motion (Doc. 96) is GRANTED and CIA is dismissed as a defendant to this action.


                                                  BY THE COURT:


                                                  /s/ L. Felipe Restrepo
                                                  ___________________________
                                                  L. FELIPE RESTREPO
                                                  UNITED STATES DISTRICT JUDGE
